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Dear Judge Furman:



Pursuant to this Court’s Individual Rules, I respectfully submit this motion to quash
service of process under Fed. R. Civ. P. 12(b)(5) and write briefly to clarify the
procedural context.

On April 20, 2025, I submitted a pre-motion letter outlining my intent to file a
comprehensive motion to dismiss addressing multiple Rule 12(b) defenses. Since that
time, I have determined that resolution of the threshold issue of defective service should
be prioritized before burdening the Court with broader substantive arguments. I have
not yet submitted a corresponding pre-motion letter to opposing counsel, and therefore
no prejudice will result to Plaintiff. I will send the letter with the proposed Motion to
Quash to counsel shortly.

Accordingly, I now submit this targeted motion to quash, attached herewith. Should the
Court deny the motion, I respectfully reserve the right to file the broader motion
previously previewed, in accordance with Your Honor’s guidance.



Respectfully submitted,

/s/ Arjun Vasan

Defendant Pro Se
